      Case 6:17-cv-01202-MAD-ATB Document 37 Filed 08/27/18 Page 1 of 1




                                                      One Lincoln Center | Syracuse, NY 13202-1355 | bsk.com

                                                                               SUZANNE M. MESSER, ESQ.
                                                                                       smesser@bsk.com
                                                                                         P: 315.218.8628
                                                                                          F: 315.218.8738
August 27, 2018

VIA ELECTRONIC FILING

Hon. Andrew T. Baxter
United States District Court, Northern District of New York
Federal Building and U.S. Courthouse
100 South Clinton Street
Syracuse, NY 13261-7396

Re:    John Doe v. The Trustees of Hamilton College
       Civil Action No.: 6:17-cv-1202 (MAD/ATB)

Dear Magistrate Judge Baxter:

We represent Defendant The Trustees of Hamilton College (“Hamilton” or “the College”). We
write to request an extension in certain discovery deadlines.

The parties are continuing to work toward a settlement of this action and have exchanged
settlement proposals since the mediation that was held on June 29, 2018. We are continuing
those discussions.

In the meantime, on July 16, 2018, Plaintiff disclosed an economist to act as an expert in this
action. The deadline for Hamilton to serve its expert disclosure is August 28, 2018. We have
retained an economist that we intend to disclose as an expert on behalf of Hamilton, but request
an additional two weeks, or until September 11, 2018, to serve such disclosure. Plaintiff’s
counsel has consented to this request. We have also agreed that any rebuttal disclosure by the
Plaintiff will be filed on or before September 26, 2018.

In addition, the parties request that the cutoff for all discovery be extended. The current
deadline for discovery is October 12, 2018. We request that the discovery deadline be
extended until December 12, 2018, to enable the parties to continue settlement discussions, or,
if we are unable to reach a settlement, to complete depositions of fact witnesses and experts.
We have discussed this extension with Plaintiff’s counsel, who consents to the request.

Respectfully submitted,

BOND, SCHOENECK & KING, PLLC

s/Suzanne Messer

Suzanne M. Messer

cc:    Counsel of Record (via ECF)


                                                                                                   3204448.1
